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                   THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 IN RE: ZOSTAVAX (ZOSTER VACCINE
 LIVE) PRODUCTS LIABILITY
 LITIGATION                                    MDL No. 2848
                                               Civil Action No. 2:18-md-02848-HB
 THIS DOCUMENT RELATES TO:

 Claude Martinez v. Merck & Co., Inc., and
 Merck Sharp & Dohme Corp., Civil Action
 No. 2:20-cv-00417

 Darryl Munn v. Merck & Co., Inc., and
 Merck Sharp & Dohme Corp., Civil Action
 No. 2:19-cv-04421

 Larry Northington v. Merck & Co., Inc., and
 Merck Sharp & Dohme Corp., Civil Action
 No. 2:19-cv-04289

 Janet Stapley v. Merck & Co., Inc., and
 Merck Sharp & Dohme Corp., Civil Action
 No. 2:20-cv-00409

     MEMORANDUM IN SUPPORT OF SEPARATE PRETRIAL ORDER NO. 342

Bartle, J.                                                           January 11, 2021

            Plaintiffs bring these actions against defendants

Merck & Co., Inc. and Merck Sharp & Dohme Corp. (together,

“Merck”) seeking damages for injuries allegedly suffered from

Zostavax, a shingles vaccine.             They are part of over 1,800

actions assigned to the undersigned in Multidistrict Litigation

(“MDL”) No. 2848 for coordinated or consolidated pretrial

proceedings.      Before the Court is the omnibus motion of Merck to

dismiss the above captioned actions under Rules 37(b) and 41(b)

of the Federal Rules of Civil Procedure for the failure to
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produce Plaintiff Fact Sheets (“PFS”) in accordance with

Pretrial Orders (“PTO”) Nos. 46 and 328.

          PTO 46 requires each plaintiff who files an action in

this MDL to serve a verified PFS and signed medical release

authorizations on Merck within 45 days of the date Merck

responds to his or her complaint.       The PFS is a questionnaire in

which each plaintiff provides, among other information, the date

the Zostavax vaccine was received, each injury claimed to be

caused by Zostavax, the date the plaintiff became aware of the

injuries, the health care providers who diagnosed and treated

the injuries, and the dates of that diagnosis and treatment.

The medical release authorizations permit Merck to collect

records from the health care providers identified in the PFS.

          The above captioned plaintiffs are each represented by

the Potts Law Firm.    They did not serve PFS’s on Merck by the

deadline set out in PTO 46.     Merck moved for an order compelling

them to do so.   The Court granted Merck’s motion and in PTO 328

ordered the plaintiffs to serve completed PFS’s and medical

release authorizations by November 30, 2020.        We warned the

plaintiffs that failure to comply with PTO 328 may result in the

dismissal of their actions.

          Plaintiff Claude Martinez served a materially complete

PFS the day Merck filed the pending motion to dismiss.         Merck

agreed to withdraw the motion as to him.       The Court will deny


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the motion of Merck to dismiss Martinez’s action as moot.

             Plaintiff Janet Stapley requested in response to

Merck’s motion that her action be dismissed without prejudice.

The Court will grant the motion of Merck to dismiss the action.

             Plaintiffs’ counsel repeatedly attempted by telephone

and by letter to inform plaintiffs Larry Northington and Darryl

Munn of the requirements of PTO’s 46 and 328.           On December 11,

2020, counsel informed the Court that these plaintiffs had not

yet responded and that their addresses may have changed.

Counsel requested leave for additional time to comply with PTO

328.

             When exercising the discretion to impose the sanction

of dismissal, a district court to the extent relevant, must

consider the six factors set out by our Court of Appeals in

Poulis v. State Farm Fire & Cas. Co., 747 F.2d 863 (3d Cir.

1984).     In re Avandia Mktg., 687 F. App’x 210, 213 (3d Cir.

2017).

             The information sought by the PFS, at minimum, is

necessary to assess the meritoriousness of the claim of each

plaintiff in this MDL that Zostavax caused them injury.            A

plaintiff’s failure to serve a PFS undermines the purpose of

centralizing the actions in an MDL.         The failure of Northington

and Munn to serve PFS’s greatly prejudices Merck, which as a

result cannot assess the merits of their claims against it.


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Counsel for Northington and Munn have requested more time to

comply with PTO 328.    However, neither they nor their counsel

have updated the Court as to the status of the delinquent PFS’s

since December 11.    We find the Poulis factors weigh in favor of

dismissal of their actions.     Accordingly, we will grant the

motion of Merck to dismiss the actions of plaintiffs Larry

Northington and Darryl Munn.




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